               Case 18-14506-LMI         Doc 391        Filed 04/12/19           Page 1 of 11

                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                   www.flsb.uscourts.gov

IN RE:
                                                                   CASE NO. 18-14506-BKC-LMI
MIAMI BEVERLY, LLC                                                 Chapter 11 (Lead Case)

                                                                   Jointly Administered

1336 NW 60, LLC                                                    CASE NO. 18-14509-BKC-LMI
REVEREND, LLC                                                      CASE NO. 18-14510-BKC-LMI
13300 ALEXANDRIA DR. HOLDINGS, LLC                                 CASE NO. 18-14511-BKC-LMI
THE HOLDINGS AT CITY, LLC                                          CASE NO. 18-14512-BKC-LMI

      Debtors.
__________________________________________/

                   DEBTOR, MIAMI BEVERLY, LLC’S NOTICE OF FILING
                        EXECUTED SETTLEMENT AGREEMENT

         Debtor, Miami Beverly LLC, (the “Debtor’), by and through undersigned counsel, provides

notice of filing copy of executed Settlement Agreement, attached hereto as Exhibit “A”, in

compliance with the terms of the settlement agreement and this Court’s order approving the same

[ECF # 381].

Dated: April 12, 2019                                     LEIDERMAN SHELOMITH ALEXANDER
                                                          + SOMODEVILLA, PLLC
                                                          Counsel for the Debtor, Miami Beverly, LLC
                                                          2699 Stirling Road, Suite C401
                                                          Ft. Lauderdale, Florida 33312
                                                          Telephone: (954) 920-5355
                                                          Facsimile: (954) 920-5371

                                                          By:_________/s/__________________
                                                                IDO J. ALEXANDER, ESQ.
                                                                Florida Bar No. 51842
                                                                ija@lsaslaw.com




                                ________________________
                             Leiderman Shelomith Alexander + Somodevilla, PLLC
                                          Miami / Fort Lauderdale
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 2 of 11




                     EXHIBIT “A”

        (Executed Settlement Agreement)
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 3 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 4 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 5 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 6 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 7 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 8 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 9 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 10 of 11
Case 18-14506-LMI   Doc 391   Filed 04/12/19   Page 11 of 11
